Case 2:19-mj-09125-ARM Documenté6 Filed 07/27/20 Page 1 of 1 PagelD: 6

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA .
*
% * MAG. NO, 19-9215
. *
ROBERT STREET *
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FOR MISDEMEANOR PLEAS AND/OR SENTENCINGS
In accordance with Fed, R. Crim. P. 43(b)(2) and Standing Order 2020-06, this Court finds:
That the Defendant (or the Juvenile) has consented to the use of video
teleconferencing/teleconferencing to conduct the proceeding(s) held today, after consultation
with counsel; and
That the proceeding(s) to be held today cannot be further delayed without serious harm
to the interests of justice, for the following specific reasons:

1. COVID pandemic, 2. Inability to conduct in-person hearing for indefinite period, and
3. Consent of defendant.

Accordingly, the proceeding(s) held on this date may be conducted by:
Video Teleconferencing
L Teleconferencing, because video teleconferencing is not reasonably available for the
following reason:
L The Defendant (or the Juvenile) is detained at a facility lacking video

teleconferencing capability.

[| Other:

 

Uy Pil thany,

Honorable Afithony R. Mautone
United States Magistrate Judge

Date: i(30/ 2
